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TWAIN E. ROBINSON, MAR | On by
Pro se AT OGLOCK OM _
JON W. SANFILIPPO. CLERK
US. Court bat Del Wise
Plaintiff, Chambers iutre Charo. No Clewect dr
CIVIL ACTION NO, 06-C-1022

Vv.
CITY OF KENOSHA,

KENOSHA POLICE DEPARTMENT
KENOSHA PROFESSIONAL POLICE ASSOCIATION

DEFENDANTS.

PLANTIFF TWAIN ROBINSON RESPECTFULLY CROSS MOVES FOR
SUMMARY JUDGEMENT AND OPPOSITION TO DEFENDANTS MOTION TO
DISMISS

In support of this cross motion Plaintiff relies on the following statement: A unions duty
of fair representation requires it to serve the interests of all union and nonunion
bargaining unit members without hostility or discrimination, to exercise this discretion in
good faith, and to avoid arbitrary conduct. Del Costello v. International Brotherhood of
Teamsters (1983) 462 US 151.

The fact of the matter is that the plaintiff will be able to prove through available evidence
that the City of Kenosha discriminated against him and that the KPPA did not fairly
represent him.

All issues raised in the defendant’s motion are reviewable.

Defendant KPPA cite and rely on decisions from other circuits in contending that
plaintiff did not state a claim and that he missed the statute of limitations.

The EEOC’s letter giving the plaintiff the right to sue is on file and all procedures were
followed in the allotted time granted by the EEOC.

Defendant KPPA contends that plaintiff failed to state a claim upon which relief can be
granted.

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I request that my complaint be amended to cure the defect of stating no claim by asking
$150,000.00 in compensatory damages from the KPPA.

1 am requesting my initial claim against the city of Kenosha stand as submitted.
Dated this 28th day of February, 2007

Respectfully submitted,
ZW

Twain E. Robinson
Pro se complainant

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